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UNITED STATES DISTRICT COURT                              DOCUME~T
SOUTHERN DISTRICT OF NEW YORK                             ELECTRONICALLY FIL 1 '·
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UNITED STATES OF AMERICA,
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                                                           BATE~~:!

         - V. -                                                   Sl 16 CR 370 (CM)

MATTHEW CONNOLLY, and
GA VIN CAMPBELL BLACK,

                      Defendants.

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                             ORDER DOCKETING SEALED DECISION

McMahon, CJ:

       The court has directed the Clerk to docket its Findings of Fact and Conclusions of Law
denying Defendant Gavin Campbell Black's motion to dismiss the indictment for purported
Kastigar violations under seal, but only until such time as the Government can explain to the
court how it intends to shield the trial team from access to this document.

       The decision must be made public as soon as possible.

Dated; May 16, 2018




                                                                  Chief Judge

BY ECF TO ALL COUNSEL
